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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

UNITED STATES OF AMERICA : Hon. Douglas E. Arpert
v. : Mag. No. 19-1582-1 (DEA)
VICTOR M. RODRIGUEZ : ORDER FOR A CONTINUANCE

This matter having come before the Court on the joint application of
Craig Carpenito, United States Attorney for the District of New Jersey (by Elisa
T. Wiygul, Assistant United States Attorney}, and defendant Victor M.
Rodriguez (by Lisa Van Hoeck, Esq.), for an order granting a continuance of the
proceedings in the above-captioned matter from the date this Order is signed
through December 31, 2020 to permit defense counsel the reasonable time
necessary for effective preparation in this matter and to allow the parties to
conduct plea negotiations and attempt to finalize a plea agreement; and the
Court having entered Standing Orders 20-02, 20-03, 20-09, 20-12, an
Extension of Standing Order 20-12, and a Second Extension of Standing Order
20-12 continuing this and all other criminal matters in this district until
January 4, 2021, in response to the national emergency created by COVID-19;
and the defendant being aware that he has the right to have the matter
submitted to a grand jury within 30 days of the date of his arrest pursuant to
Title 18, United States Code, Section 3161(b}; and five prior continuances
having been entered; and the defendant, through his attorney, having

consented to the continuance; and for good and sufficient cause shown,

 
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IT IS THE FINDING OF THIS COURT that this action should be
continued for the following reasons:
(1) The parties have entered into plea negotiations, which may render

any grand jury proceedings and any subsequent trial of this matter

unnecessary;
(2) In response to the national emergency created by COVID-19, the
Chief Judge of this Court has entered Standing Orders 20-02, 20-03, 20-09,
20-12, an Extension of Standing Order 20-12, and a Second Extension of
Standing Order 20-12, which are incorporated herein by reference;
(3) The defendant has consented to the aforementioned continuance;

(4) The grant of a continuance will likely conserve judicial resources;

(5) Pursuant to Title 18, United States Code, Section 3161(h}(7), the
ends of justice served by granting the continuance outweigh the best interests

of the public and the defendant in a speedy trial.
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WHEREFORE, it is on this day of Octeber, 2020;
ORDERED that this action be, and it hereby is, continued from the date

this Order is signed through December 31, 2020; and it is further

 

 
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ORDERED that the period from the date this Order is signed through
December 31, 2020 shall be excludable in computing time under the Speedy
Trial Act of 1974.

Wher |
HON. DOUGLAS E) ARPERT
United States Magistrate Judge

 

 

 

Form and entry consented to: APPROVED BY:

/s/ Elisa T. Wiygul /s/ J. Brendan Day

Elisa T. Wiygul J, Brendan Day

Assistant United States Attorney Attorney-in-Charge, Trenton Office

Lig a Oath — /s/ Matthew J. Skahill

Lisa Van Hoeck, Esq. Matthew J. Skahiil
Counsel for Defendant Victor M. Rodriguez Deputy United States Attorney

 
